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                          UNITED STATES DISTRICT COURT

                             DISTRICT OF SOUTH DAKOTA

                                    NORTHERN DIVISION


 UNITED STATES OF AMERICA,
                                                             1:22-CR-10031-CBK
                       Plaintiff,
        vs.
                                                   ORDER ADOPTING REPORT AND
 TUJUANE LEND LOWRY,                             RECOMMENDATION AND ORDER ON
                       Defendant.                      MOTION TO DISMISS


                                     INTRODUCTION

       Defendant moved to dismiss the indictment charging him with felon in possession
of a firearm on the basis that 18 U.S.C. § 922(g)(1) is unconstitutional in violation ofthe
Second Amendment to the United States Constitution. The motion came on for a hearing
before Magistrate Judge Mark A. Moreno. Magistrate Moreno issued a report and
recommendation wherein he recommended that the motion to dismiss be denied.
Defendant filed objections to the legal conclusions set forth in the report and
recommendation. I have conducted a de novo review ofthe record as required by 28
U.S.C. § 636(b)(1).
                                        DECISION

       The Omnibus Crime Control and Safe Streets Act of 1968 added Chapter 44 to
Title 18 ofthe U.S. Code entitled Firearms. Pub. L. 90-351, Title I, § 902, June 19, 1968,
82 Stat. 197. The Act included a provision prohibiting, inter alia, persons who are
convicted felons, from receiving, possessing, or transporting in interstate commerce any
firearm. Pub. L. 90-351, Title VII, § 1202(a)(1). That provision is now codified at 18
U.S.C. § 922)(g)(l).
      Defendant contends that § 922(g)(1) is unconstitutional in violation ofthe Second
Amendment right to bear arms. He contends that prior case law upholding Second
Amendment challenges to § 922(g) are no longer binding in light ofthe United States
Supreme Court's decision in New York State Rifle & Pistol Ass'n,Inc. v. Bruen.
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